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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,                  :
                                           :
       Plaintiff                           :         CRIMINAL ACTION NO.
v.                                         :         3:08-cr-4 (JCH)
                                           :
JOHN HOBSON                                :         SEPTEMBER 29, 2008
                                           :
       Defendant.                          :

 ORDER DENYING MOTION TO SEVER BY DEFENDANT HOBSON [Doc. No. 258]

       On January 8, 2008, seventeen defendants were indicted under 21 U.S.C. §§

841(a)(1) and 846 with Conspiracy to Distribute 50 Grams or More of Cocaine Base,

and Possession of Cocaine Base With Intent to Distribute. On April 2, 2008, defendant

John Hobson made a Motion to Sever, asking that he be tried separately from his

alleged co-conspirators. On September 23, 2008, the grand jury returned a

superseding indictment splitting the charges into several counts. On September 25,

2008, the court announced that it would try counts one and two of the indictment

separately.

       In his Motion, Hobson requests a separate trial on the ground that a joint trial will

prejudice him. To the extent Hobson requests a severance from the trial of defendants

with whom he is not alleged to have conspired, that request is rendered moot by the

return of the superseding indictment and the court’s determination to try the counts

separately. To the extent Hobson requests to be tried alone, he has failed to

demonstrate a “serious risk that a joint trial” would compromise “a specific trial right . . .

or prevent the jury from making a reliable judgment about guilt or innocence.” United


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States v. Yousef, 327 F.3d 56, 150 (2d Cir. 2003) (citation omitted). Nor has he

demonstrated “‘substantial’ spillover prejudice” constituting a “miscarriage of justice,”

United States v. Diaz, 176 F.3d 52, 102 (2d Cir. 1999), or that such prejudice is

“sufficiently severe to outweigh the judicial economy that would be realized by avoiding

multiple lengthy trials,” United States v. Walker, 142 F.3d 103, 110 (2d Cir. 1998)

(citations omitted). Should Mr. Hobson wish further severance beyond that afforded by

the superseding indictment, he may make a motion no later than October 20, 2008.

III.   CONCLUSION

       For the foregoing reasons, the court DENIES Hobson’s Motion to Sever [Doc.

No. 258].



SO ORDERED.

       Dated at Bridgeport, Connecticut this 29th day of September, 2008.




                                           /s/ Janet C. Hall
                                          Janet C. Hall
                                          United States District Judge




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